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                          IN THE
                          IN THE LICKING
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                                 LICKING COUNTY
                                         COUNTY MUNICIPAL
                                                   MUNICIPAL COURT
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                     INTHE MATTER
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                                   OF:                                              Case No.
                                                                                    Case No. 19 T8T 00002
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                      Lu<
                      Lu<
                                    of Russell
                        Trusteeship of
                      - Trusteeship    Russell Pearce,
                                               Pearce, et
                                                       et al.
                                                          al.                       JUDGMENT ENTRY
                                                                                    JUDGMENT ENTRY
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                        e
                        e
                        ,_


Exhibit                           This matter
                                  This matter comes
                                              comes on
                                                    on to
                                                       to be
                                                          be heard
                                                             heard upon the Court's
                                                                   upon the Court's receipt of aa "Notice
                                                                                    receipt of    "Notice of
                                                                                                          of


C                    Election Not
                     Election Not to
                                  to Participate
                                     Participate iin
                                                   n Trusteeship
                                                     Trusteeship Payments," filed on
                                                                 Payments," filed on March
                                                                                     March 18,
                                                                                           18, 2022.
                                                                                               2022. The
                                                                                                     The

                     document was
                     document was filed
                                  filed by the
                                           the lla
                                                 aww firm
                                                     firm of
                                                          of Kaman
                                                             Kaman and
                                                                   and Cusimano,
                                                                       Cusimano, LLC
                                                                                 LLC on
                                                                                     on behalf
                                                                                        behalf of
                                                                                               of

                     Plaintiff Brooksedge Homeowners
                     Plaintiff            Homeowners Assoc.,
                                                     Assoc., Inc.,
                                                             Inc., ("Brooksedge") iin
                                                                                    n Licking County

                                                                                 judgment against
                     Municipal Court Case No. 20 CVI 00003. Brooksedge secured a judgment

                                                    in the amount of $3,551.00
                     the Russell and Shanise Pearce in

                                  The trusteeship herein had already been created by the defendants at the time

                     of the judgment. The defendants, by correspondence of August 25, 2021, requested

                                     participate in the trusteeship.
                     that Brooksedge participate                                Notice of the same was sent to

                     Brooksedge's counsel the same day by the Clerk of Court.
                                                                       Court.'1

                                  Any creditor who holds an encumbrance on the property of another may elect

                     to participate in a trusteeship.
                                         trusteeship. Doing so precludes the creditor from asserting its
                                                                                                     its lien

                     or other encumrance so long as the debtor is iin
                                                                   n compliance with the agreement. A

                     creditor
                     creditor must
                              must submit
                                   submit iin
                                            n writing to
                                                      to the
                                                         the Court
                                                             Court within
                                                                   within ten
                                                                          ten days of
                                                                                   of notice
                                                                                      notice of
                                                                                             of the
                                                                                                the trusteeship
                                                                                                    trusteeship

                     its agreement or objection to be included. Failure to file a written response must be

                     held by the Court to be an agreement to participate and the creditor is estopped from

                     executing on its lien or other encumbrance if the debtor is fulfilling his or her

      Judge
David
      Judge
David N. Stansbury
                     obligations under the trusteeship as required by R.C. 52329.70.
                                                                           §2329.70. See, generally, R.C.
  (740) 670-7842
 (740)  670-7842
                     §2329.71.
40W.
40 W. Main Street
  Newark, Ohio
     43055
     43055


 Judge B. Matthew    ' Brooksedge is represented by the same counsel in both matters.
     George
 (740) 670-7852
 (740) 670-7852                                                       1
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             IN THE LICKING COUNTY MUNICIPAL COURT
                           CIVIL DIVISION
             In
             In this matter, Brooksedge was notified of the trusteeship on August 25, 2021.

      It did not file its objection
                          objection (or "election" as styled in
                                                             in its
                                                                its filing herein) until March 18,

      2022. By virtue of its failure to object within ten days,
                                                          days, it is deemed to have agreed to

      participate.   Brooksedge does not allege
                                         allege in its filing that the debtors are not in
                                                                                       in

      compliance with the agreement under the trusteeship. Accordingly, itit cannot opt out

      now and it continues to be barred from asserting any lien
                                                           lien or encumbrance, including,
                                                                                including,

      but not limited to, wage garnishment and bank attachment. R.C. §2329.70

             For
             For the
                 the reason
                     reason that
                            that Brooksedge has
                                            has not
                                                not established          to elect
                                                    established standing to elect not
                                                                                  not to
                                                                                      to

      participate in the agreement, its "Notice of Election Not to Participate in Trusteeship

                is struck from the record. The Clerk of Courts shall return check numbers
      Payments" is

      052649 and 052702 to Brooksedge through its counsel.

             It is so ordered.


                                                         Judge David N. Stansbury



      cc:    Brooksedge HOA, Inc.,
             c/o Kaman and Casimano, LLC
             Russel and Shanise Pearce




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